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Summons; Complalnt
PARTY SERVED: Houl|han Lokny ¢aplh|, lno.
PERSCNSERVED: m-LansmkoclomkyboGeorgo-Reghhmdmont{or

Belvleo of
DATE &TlME OF DEUVRY: 11180!2018

2386 FM

ADDRESS. C|TY. AND S'I'ATE: 2710 Gatoway duke br 8b 160||
Saeramem CA 958333502

FHYS!CAL DESCR|FT|ON: Aga: 48 Weight 170 Hak: B|on¢e

Sex: Fsma!e l'hb|\t Eyos:
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MANNER 0F SERVICE:

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